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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION
 FUND TEXAS CHOICE, et al.,                      §
      Plaintiffs                                 §
                                                 §
    v.                                           §
                                                 §                Case No. 1:22-CV-859-RP
 SUSAN R. DESKI, et al.,                         §
      Defendants

                                             ORDER

   Now before the Court is Defendant Jacob Putman’s Opposed Motion to Compel, filed

September 6, 2024 (Dkt. 449). By Text Order entered September 10, 2024, the District Court

referred the Motion to this Magistrate Judge for disposition, pursuant to 28 U.S.C. § 636(b)(1)(A),

Federal Rule of Civil Procedure 72, and Rule 1(c) of Appendix C of the Local Rules of the United

States District Court for the Western District of Texas.

   IT IS ORDERED that the Court will hold a hearing on Defendant Putman’s Motion (Dkt. 449)

in Courtroom 6 on the Sixth Floor of the United States Courthouse, 501 West Fifth Street, Austin,

Texas, on Thursday, October 3, 2024 at 2 p.m.

   SIGNED on September 18, 2024.


                                                         SUSAN HIGHTOWER
                                                         UNITED STATES MAGISTRATE JUDGE




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